       Case 2:17-cv-00292-SMJ   ECF No. 13    filed 10/16/17    PageID.66 Page 1 of 1



 1              q.    The parties do not have any other matters to raise at this time.
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 3
           DATED this 12th day of October, 2017.
 4
     OFFICE OF THE CITY                    NORTHWEST IMMIGRANT RIGHTS
 5 ATTORNEY                                PROJECT
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